   Case 1:01-cv-12257-PBS Document 6528-43 Filed 09/22/09 Page 1 of 11




                               Exhibit 42



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
          Case 1:01-cv-12257-PBS Document 6528-43 Filed 09/22/09 Page 2 of 11
RI Dept of Human Services (Paula Avarista)                              December 4, 2008
                                  Providence, RI

                                                                                 Page 1
                  UNITED STATES DISTRICT COURT

               FOR THE DISTRICT OF MASSACHUSETTS

      -----------------------------------X

      In Re: PHARMACEUTICAL INDUSTRY     )

      AVERAGE WHOLESALE PRICE LITIGATION )

      -----------------------------------X MDL No. 1456

      THIS DOCUMENT RELATES TO:          ) Master File No.

      United States of America ex rel.   ) 01-CV-12257-PBS

      Ven-A-Care of the Florida Keys,    )

      Inc., et al. v. Dey, Inc., et al., )

      Civil Action No. 05-11084-PBS,     ) Hon. Patti B.

      and United States of America ex    ) Saris

      rel. Ven-A-Care of the Florida     )

      Keys, Inc., et al. v. Boehringer   )

      Ingelheim Corp., et al., Civil     )

      Action No. 07-10248-PBS            )

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                  VIDEOTAPED DEPOSITION OF

        THE RHODE ISLAND DEPARTMENT OF HUMAN SERVICES

                     by PAULA AVARISTA

                 Providence, Rhode Island

                Thursday, December 4, 2008




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          Case 1:01-cv-12257-PBS Document 6528-43 Filed 09/22/09 Page 3 of 11
RI Dept of Human Services (Paula Avarista)                              December 4, 2008
                                 Providence, RI

                                                                                 Page 2
  1
                                A P P E A R A N C E S
  2

  3
         On behalf of Boehringer Ingelheim Corp. and Roxane
  4
         Laboratories:
  5

  6
                        SARA K. RANKIN, ESQ.
  7
                        Kirkland & Ellis LLP
  8
                        200 East Randolph Drive
  9
                        Chicago, IL           60601
 10
                        312-861-3486
 11
                        srankin@kirkland.com
 12

 13

 14
         On behalf of the United States of America:
 15

 16
                        BARBARA HEALY SMITH, ESQ.
 17
                        Assistant United States Attorney
 18
                        United States Courthouse
 19
                        1 Courthouse Way, Suite 9200
 20
                        Boston, MA           02210
 21
                        617-748-3272
 22
                        barbara.h.smith@usdoj.gov

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          Case 1:01-cv-12257-PBS Document 6528-43 Filed 09/22/09 Page 4 of 11
RI Dept of Human Services (Paula Avarista)                              December 4, 2008
                                 Providence, RI

                                                                             Page 120
  1
                 Q.      When you say with pricing, what do you
  2
         mean?
  3
                 A.      What the pharmacists were buying the
  4
         drugs at the time when it was first introduced
  5
         probably in the early '70s or whatever, that was
  6
         an average price is what the average was at the
  7
         time.      Over the years I think it has changed.
  8
                 Q.      When did your understanding that AWP
  9
         did not reflect a proxy for the actual cost for
 10
         the drug paid by the pharmacy change?
 11
                 A.      1990.
 12
                 Q.      In 1990?
 13
                 A.      Yes.
 14
                 Q.      And in 1990 is that when you had some
 15
         understanding that AWP was the manufacturer's
 16
         suggested price, which generally is higher than
 17
         the actual cost of the drug paid by the pharmacy?
 18
                 A.      Right.       That's when the understanding
 19
         was that it was not in line any longer with the
 20
         purchase price.
 21
                 Q.      And does 1990 also the point at which
 22
         you understood that pharmacies typically purchase

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          Case 1:01-cv-12257-PBS Document 6528-43 Filed 09/22/09 Page 5 of 11
RI Dept of Human Services (Paula Avarista)                              December 4, 2008
                                 Providence, RI

                                                                             Page 121
  1
         drug products at prices much less than AWP?
  2
                         MS. BAUM:           Objection, form of the
  3
         question, foundation.
  4
                         MS. SMITH:           Objection.
  5
                         MS. BAUM:           You can answer.
  6
                         THE WITNESS:           Okay.   We knew that it
  7
         was not what they purchased it at.                     Didn't know
  8
         how much it wasn't, but we know that it wasn't
  9
         exactly.        And other states were paying less at
 10
         the time.
 11
         BY MS. RANKIN:
 12
                 Q.      Did you have an understanding from 1990
 13
         on, that average wholesale price was higher than
 14
         actual acquisition cost?
 15
                 A.      Yes.
 16
                 Q.      I am sorry?
 17
                 A.      Yes.     I am sorry.
 18
                 Q.      And that was your understanding
 19
         consistently from 1990 to the present?
 20
                 A.      Yes.
 21
                         MS. BAUM:           If you could just let
 22
         counselor --

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          Case 1:01-cv-12257-PBS Document 6528-43 Filed 09/22/09 Page 6 of 11
RI Dept of Human Services (Paula Avarista)                              December 4, 2008
                                 Providence, RI

                                                                             Page 135
  1
         except for the rebates and discounts than AWP; is
  2
         that correct?
  3
                 A.      Yes.
  4
                 Q.      Did that understanding change over
  5
         time?
  6
                 A.      It's beginning to, yes.
  7
                 Q.      It is beginning to currently?
  8
                 A.      Yes.
  9
                 Q.      When you submitted the proposal in
 10
         1995, we talked about the Exhibit B which showed
 11
         actual acquisition costs for pharmacies for
 12
         certain drugs and showed the WAC.                     And I believe
 13
         you also testified that you would be concerned
 14
         about using actual acquisition cost as an
 15
         ingredient cost for reimbursement because it may
 16
         be too low.          Is that fair to say was your
 17
         previous testimony?
 18
                 A.      Yes.
 19
                 Q.      And so the decision was made by Rhode
 20
         Island Medicaid not to use actual acquisition
 21
         cost as the basis, as the ingredient cost
 22
         reimbursement basis in favor of WAC, a WAC-based

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                                                                    4bf2750b-2034-48fd-9bbd-7252cf88dcc1
          Case 1:01-cv-12257-PBS Document 6528-43 Filed 09/22/09 Page 7 of 11
RI Dept of Human Services (Paula Avarista)                              December 4, 2008
                                 Providence, RI

                                                                             Page 136
  1
         methodology; is that right?
  2
                         MS. BAUM:           Objection, foundation.
  3
                         MS. SMITH:           Objection.
  4
                         THE WITNESS:           Actual acquisition cost
  5
         varies between pharmacies, so the Wholesale
  6
         Acquisition Costs was more of a general average
  7
         of all the pharmacies because they all cannot
  8
         purchase at the same price.                 What actual for one
  9
         may be a lot less for another or more for
 10
         another.        So to use the actual acquisition cost,
 11
         which would be very difficult to obtain, would
 12
         not necessarily be equal for everybody.                         So the
 13
         Wholesale Acquisition Cost was an average of all
 14
         the companies, so it would be more easily to, if
 15
         that was available to us and it would be more
 16
         reflective of the general price.
 17
         BY MS. RANKIN:
 18
                 Q.      But you clearly had actual acquisition
 19
         cost available to you in Exhibit B for some
 20
         drugs.       Did you make any effort to incorporate
 21
         those actual acquisition costs into the
 22
         reimbursement algorithm for those drugs?

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                                                                    4bf2750b-2034-48fd-9bbd-7252cf88dcc1
          Case 1:01-cv-12257-PBS Document 6528-43 Filed 09/22/09 Page 8 of 11
RI Dept of Human Services (Paula Avarista)                              December 4, 2008
                                 Providence, RI

                                                                             Page 137
  1
                 A.      No.
  2
                 Q.      Why not?
  3
                 A.      That was only one -- that was only one
  4
         wholesaler and how that one wholesaler sold their
  5
         drugs.       Other wholesalers might sell it
  6
         differently or direct prices differently or chain
  7
         drug stores buy it differently.                    So using that
  8
         actual acquisition cost could only be maybe for
  9
         that particular manufacturer, wholesaler.
 10
         Doesn't mean everybody's reflected that way.                               So
 11
         the Wholesale Acquisition Cost gave us an average
 12
         of what everybody was purchasing for.
 13
                 Q.      Are you familiar with the claim form
 14
         that's used by Medicaid providers to submit
 15
         claims for Medicaid reimbursement for pharmacies?
 16
                 A.      Through Rhode Island Medicaid?
 17
                 Q.      Uh-hum.
 18
                 A.      It is electronically and we also have a
 19
         paper claim form, yes.
 20
                 Q.      Are you familiar with the paper claim
 21
         form?
 22
                 A.      Yes, I am.

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          Case 1:01-cv-12257-PBS Document 6528-43 Filed 09/22/09 Page 9 of 11
RI Dept of Human Services (Paula Avarista)                              December 4, 2008
                                 Providence, RI

                                                                             Page 211
  1
         so one of the three, in 99 percent of the time,
  2
         is available.
  3
                 Q.      Are you familiar with CMS' policy that
  4
         determination of a dispensing fee should be
  5
         separate and distinct from determination of the
  6
         Estimated Acquisition Cost?
  7
                         MS. RANKIN:         Objection to the form and
  8
         foundation.
  9
                         THE WITNESS:         Yes.
 10
         BY MS. SMITH:
 11
                 Q.      Is Rhode Island State Plan Amendment
 12
         consistent or inconsistent with that policy?
 13
                         MS. RANKIN:         Objection to the form.
 14
                         THE WITNESS:         It is consistent.
 15
         BY MS. SMITH:
 16
                 Q.      To your knowledge, when on the three
 17
         occasions when Rhode Island changed its State
 18
         Plan to change the reimbursement methodology for
 19
         prescription drugs, was there any -- was the
 20
         determination to change the reimbursement
 21
         methodology based at all on the cost of
 22
         dispensing drugs?

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          Case 1:01-cv-12257-PBS Document 6528-43 Filed 09/22/09 Page 10 of 11
RI Dept of Human Services (Paula Avarista)                               December 4, 2008
                                 Providence, RI

                                                                              Page 213
  1
         Rhode Island Medicaid pharmacy program to
  2
         investigate the accuracy of the published prices?
  3
                         MS. RANKIN:          Objection to the form and
  4
         foundation.
  5
                         THE WITNESS:          Not with the current
  6
         staff, no, it would be impossible.
  7
         BY MS. SMITH:
  8
                 Q.      Did representatives from any of the
  9
         defendant companies ever come to you to suggest
 10
         that they were reporting inflated AWPs or WACs so
 11
         that the state of Rhode Island would pay a little
 12
         more for ingredients and it would make up for a
 13
         dispensing fee that they believed was too low?
 14
                         MS. RANKIN:          Objection to the form.
 15
         Foundation, leading.
 16
                         THE WITNESS:          No.
 17
                         MS. SMITH:          Wait until she's finished.
 18
                         THE WITNESS:          I'm sorry.
 19
                         MS. SMITH:          We're going to take a two-
 20
         minute break to change the tape.
 21
                         VIDEOGRAPHER:          Time is 1:54.           This ends
 22
         cassette number 2.              We are going off the record.

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          Case 1:01-cv-12257-PBS Document 6528-43 Filed 09/22/09 Page 11 of 11
RI Dept of Human Services (Paula Avarista)                               December 4, 2008
                                 Providence, RI

                                                                              Page 217
  1
                 Q.      Would that be possible on a regular
  2
         basis?
  3
                         MS. RANKIN:          Same objections.
  4
                         THE WITNESS:          No.    No.
  5
         BY MS. SMITH:
  6
                 Q.      Has it ever been the policy of Rhode
  7
         Island Medicaid agency or pharmacy program to use
  8
         a little extra reimbursement on the ingredient
  9
         cost to make up for a deficit in dispensing fee?
 10
                         MS. RANKIN:          Objection to the form,
 11
         foundation, leading.
 12
                         THE WITNESS:          No.
 13
         BY MS. SMITH:
 14
                 Q.      I believe you testified earlier that
 15
         your understanding of reported Wholesale
 16
         Acquisition Costs or WAC is that it was more of
 17
         an average for all companies of their acquisition
 18
         costs?
 19
                 A.      All pharmacies.
 20
                         MS. RANKIN:          Objection to the form.
 21
         BY MS. SMITH:
 22
                 Q.      I'm sorry.          Do you remember that

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